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                             UNITED STATES OF AMERICA
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA

                    vs.                                   CASE NO. 8:06-CR-110-T-24MAP

ERNEST KING
                                        /

                          ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

       The Defendant, Ernest King, entered a plea of guilty to Counts One, Two, Three

and Six of the First Superseding Indictment before Magistrate Judge Mark A. Pizzo on October

13, 2006. The Magistrate Judge issued a Report and Recommendation in which he

recommended the plea of guilty be accepted and that the defendant be adjudged guilty and have

sentence imposed accordingly.

       Accordingly, it is ORDERED and ADJUDGED:

       1.     That the Magistrate Judge’s Report and Recommendation be adopted and

              confirmed and made a part hereof.

       2.     That the defendant, Ernest King be adjudicated guilty.

       3.     That the sentencing be scheduled for January 17, 2007 at 1:30 P.M.

DONE and ORDERED at Tampa, Florida this 13th day of November, 2006.
